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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 17-cv-02123-REB-KMT

  OYZHANA WILLIAMS,

          Plaintiff,

  v.

  CITY OF AURORA

          Defendant.


                       STIPULATION FOR DISMISSAL WITH PREJUDICE


          Plaintiff OyZhana Williams, through counsel Adam Frank and Faisal Salahuddin

  of Frank & Salahuddin LLC, and Defendant City of Aurora, through counsel Nancy

  Rodgers of the Aurora City Attorney’s Office, stipulate and agree as follows:



       1. That all matters in controversy with respect to Ms. Williams and the City of

  Aurora are to be dismissed, including the operative complaint and any amendments

  thereto, and any and all cross claims and counterclaims, whether asserted or not. All

  such matters have been settled. The parties mutually agree that the operative complaint

  and any amendments thereto, and any and all cross claims and counterclaims, whether

  asserted or not, will be dismissed with prejudice.



       2. Ms. Williams and the City of Aurora will each pay their own fees and costs.



  Dated: May 22, 2018
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   /s/ Adam Frank                       /s/ Nancy C. Rodgers
   Adam Frank                           Nancy Cornish Rodgers
   Faisal Salahuddin                    Aurora City Attorney's Office
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   Email: adam@fas-law.com              Attorney for Defendant City of Aurora
          faisal@fas-law.com
   Attorneys for Plaintiff
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                                   CERTIFICATE OF SERVICE

         I hereby certify that on May 22, 2018, I electronically filed the foregoing with the
  Clerk of Court using the CM/ECF system. I further certify that a copy of the foregoing
  was served via electronic mail through the CM/ECF system, addressed to the following:



         Nancy Rodgers
         nrodgers@auroragov.org



                                            s/Adam Frank
                                            FRANK & SALAHUDDIN LLC
